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13
                                   UNITED STATES DISTRICT COURT
14
               CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
15

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17                                                  Case No.: 2:16-cv-06599 JGB(FFMx).
18      GUILLERMO ROBLES, an
                                                     REQUEST FOR TRIAL DATE
19
        individual,
20
                      Plaintiff,
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22
        v.

23      DOMINO’S PIZZA LLC, a limited
24      liability corporation,
25

26                    Defendant.
27

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                                     REQUEST FOR TRIAL DATE
                                                1
     Case 2:16-cv-06599-JGB-E Document 196 Filed 01/14/22 Page 2 of 2 Page ID #:4956


 1         TO THE HONORABLE JESUS G. BERNAL:
 2         On December 20, 2021, Plaintiff Guillermo Robles and Defendant Domino’s
 3   Pizza LLC (the “Parties”) filed a Joint Motion to Reopen Case because the Parties
 4   were unable to consummate settlement. (Dkt. No. 195.)
 5         Accordingly, Plaintiff respectfully requests that the Court schedule a trial date
 6   and other associated pretrial conference dates.
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     Dated: January 14, 2022       MANNING LAW, APC
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                                     By: /s/ Joseph R. Manning, Jr., Esq.
11                                      Joseph R. Manning Jr., Esq.
12
                                        Attorneys for Plaintiff

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                                REQUEST FOR TRIAL DATE
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